Case 8:19-cv-01210-CEH-SPF Document 60 Filed 07/24/20 Page 1 of 4 PageID 3833




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

JAMES FICKEN, trustee,
SUNCOAST FIRST TRUST; and
SUNCOAST FIRST TRUST,

       Plaintiffs,

       vs.                                                     Case No.: 8:19-cv-01210
                                                               State Court Case No.: 19-003181-CI
CITY OF DUNEDIN, FLORIDA;
DUNEDIN CODE ENFORCEMENT BOARD;
MICHAEL BOWMAN, in his official capacity as Code
Enforcement Board Chairman; LOWELL SUPLICKI,
in his official capacity as Code Enforcement Board
Vice-Chair; ARLENE GRAHAM, in her official
capacity as a member of the Code Enforcement Board;
KEN CARSON, in his official capacity as a member
of the Code Enforcement Board; WILLIAM
MOTLEY, in his official capacity as a member
of the Code Enforcement Board; DAVE PAULEY,
in his official capacity as a member of the Code
Enforcement Board; and BUNNY DUTTON, in
her official capacity as a member of the Code
Enforcement Board,

       Defendants.
                                                       /

       JOINT MOTION TO CONTINUE JOINT FINAL PRETRIAL STATEMENT

       The parties write to jointly request a short extension of time for their joint final pretrial

statement. Under the Court’s current case-management order (ECF 17), counsel must meet in

person to discuss the statement by August 7, and they must submit the statement by August 18.

The parties respectfully request that these dates be extended to August 28 and September 8.

       Good cause for this extension exists because it will likely preserve the parties’ resources.

Cross-motions for summary judgment are pending, and the parties believe that these motions,

rather than a trial, will very likely resolve this case. The subject-matter—the constitutionality of
Case 8:19-cv-01210-CEH-SPF Document 60 Filed 07/24/20 Page 2 of 4 PageID 3834




fines the Defendants imposed on the Plaintiff and the Defendants’ process for imposing them—is

not fact intensive. Indeed, the parties agree on virtually all the facts that a trial could resolve.

Their disagreement—to the extent there is any—is about the materiality of those facts, which is

the kind of legal issue often resolved on summary judgment. Thus, if the Court resolves the case

on the summary-judgment briefs, continuing the final pretrial statement might avoid the expense

of travel for an in-person meeting1 as well as thousands of dollars in attorney time. Even if not,

the Court’s ruling will likely significantly narrow the issues for trial, and a later conference could

allow the parties to focus the pretrial statement on just a handful of issues.

         The parties do not believe this short extension would inconvenience the Court. The

statement would still be due a week before the final pretrial conference, the same as pretrial

briefs and deposition designations. And because the parties do not seek a jury trial, the Court will

not need to review voir dire questions, jury instructions, or a verdict form. Rather, the Court will

only be asked to review fairly short lists of exhibits, witnesses, and agreed facts—lists expected

to be even shorter if a denial of both summary judgment motions narrows the issues.

         The parties thus respectfully request that the deadlines to file the joint final pretrial

statement, and the conference to discuss it, be extended to August 28 and September 8.

Additionally, regardless of whether this request is granted or denied, the parties also respectfully

request that this Court permit the parties to meet virtually, as opposed to in-person, to conduct

the conference.

         Respectfully submitted this 24th day of July 2020.




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  As separately requested below, however, the parties respectfully ask that they be released from the requirement
that they meet in person.
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Case 8:19-cv-01210-CEH-SPF Document 60 Filed 07/24/20 Page 3 of 4 PageID 3835




                                              /s/ Ari S. Bargil
                                              /s/ Jay Daigneault, Esq.

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  **Admitted Pro Hac Vice

  Counsel for Plaintiffs




                                          3
Case 8:19-cv-01210-CEH-SPF Document 60 Filed 07/24/20 Page 4 of 4 PageID 3836




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 24th day of July 2020, a true and correct copy of Joint

Motion to Continue Joint Final Pretrial Statement was filed with the Clerk of the Court using the

CM/ECF system, which will send a notice of electronic filing to the following CM/ECF

participants:

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                                     /s/ Ari S. Bargil
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